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 1   SULAIMAN LAW GROUP, LTD.
 2   Alejandro E. Figueroa (State Bar No. 332132)
     2500 South Highland Avenue, Suite 200
 3   Lombard, IL 60148
 4   Telephone: (630) 575-8181 Ext. 120
     Facsimile: (630) 575-8188
 5   Email: alejandrof@sulaimanlaw.com
 6   Attorney for Plaintiff

 7
                           UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
 9

10
      JULYNDA M. WALKER,                        Case No. 5:21-cv-01048
11
                       Plaintiff,               COMPLAINT FOR DAMAGES
12
                                                1. VIOLATION OF THE FAIR
13          v.                                  CREDIT REPORTING ACT, 15 U.S.C.
                                                §1681 ET SEQ.
14
      TRANSUNION, LLC and
15    EXPERIAN INFORMATION
      SOLUTIONS, INC.,                          DEMAND FOR JURY TRIAL
16
                       Defendants.
17

18

19                                         COMPLAINT
20        NOW comes JULYNDA M. WALKER (“Plaintiff”), by and through the
21
     undersigned,   complaining       as   to   the   conduct   of   TRANSUNION,   LLC
22

23   (“TransUnion”),     and        EXPERIAN     INFORMATION          SOLUTIONS,   INC.
24   (“Experian”) (collectively, “Defendants”), as follows:
25
                                      NATURE OF THE ACTION
26

27

28
                                                  1
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 1      1. Plaintiff brings this action seeking redress for Defendants’ violations of the Fair
 2
     Credit Reporting Act (“FCRA”) pursuant to 15 U.S.C. §1681 et seq.
 3

 4                                JURISDICTION AND VENUE

 5      2. This action arises under and is brought pursuant to the FCRA. Subject matter
 6
     jurisdiction is conferred upon this Court by 15 U.S.C. §1681p, 28 U.S.C. §§1331 and
 7

 8   1337(a), as the action arises under the laws of the United States.
 9      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendants
10
     conduct business in the Central District of California and a substantial portion of the
11

12   events or omissions giving rise to the claims occurred within the Central District of
13   California.
14
        4. Joinder of Plaintiff’s claims against Defendants is proper under Fed. R. Civ. P.
15

16   20(a)(2) as the claims arise out of the same transaction, occurrence, or series of
17   transactions or occurrences and common questions of law or fact will arise.
18
                                            PARTIES
19

20      5. Plaintiff is a natural person over 18 years-of-age residing in San Bernardino

21
     County, California, which falls within the Central District of California.
22
        6. TransUnion is regularly engaged in the business of assembling, evaluating, and
23

24   disbursing information concerning consumers for the purpose of furnishing consumer
25
     reports and credit files to third parties bearing on a consumer’s credit worthiness,
26
     credit standing, and credit capacity on a nationwide basis, including in the State of
27

28
                                                 2
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 1   California. TransUnion’s registered agent is located at 251 Little Falls Drive,
 2
     Wilmington, Delaware.
 3

 4         7. Experian is a consumer reporting agency that maintains credit information on

 5   approximately 220+ million U.S. consumers and 40 million active U.S. businesses.1
 6
     Experian is regularly engaged in the business of assembling, evaluating, and
 7

 8   disbursing information concerning consumers for the purpose of furnishing consumer
 9
     reports and credit files to third parties bearing on a consumer’s credit worthiness,
10
     credit standing, and credit capacity on a nationwide basis, including in the State of
11

12   California. Experian maintains its principal place of business at 475 Anton
13
     Boulevard, Costa Mesa, California.
14
                                     FACTS SUPPORTING CAUSE OF ACTION
15

16         8. In approximately early 2021, Plaintiff was checking her credit reports and

17
     noticed a Gold Acceptance Corporation (“GAC”) trade line (“subject account”)
18
     appearing on her credit reports.
19

20         9. Plaintiff was extremely concerned and confused by the subject account
21
     reporting on her credit reports, as Pacific Credit Exchange (“Pacific”) assumed the
22
     servicing of the subject account.
23

24         10. As such, GAC was incorrectly reporting that it was servicing the subject
25
     account, when in fact that was not the case.
26

27

28   1
         https://www.experian.com/corporate/experian-corporate-factsheet.html
                                                                3
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 1      11. Moreover, the subject account was reported twice on Plaintiff’s credit reports
 2
     because Pacific also began reporting the subject account on Plaintiff’s credit reports
 3

 4      12. Consequently, Plaintiff initiated written credit disputes with TransUnion and

 5   Experian on or about March 21, 2021. Specifically, Plaintiff informed TransUnion
 6
     and Experian of the incorrect information on her credit reports and demanded that
 7

 8   Defendants update their reporting to accurately reflect the subject account.
 9      13. Upon information and belief, GAC received notice of Plaintiff’s disputes
10
     within five days of Plaintiff initiating the disputes with TransUnion and Experian.
11

12   See 15 U.S. Code § 1681i(a)(2).
13      14. TransUnion and Experian neglected to respond to Plaintiff’s March disputes
14
     within 30 days of the dispute.
15

16      15. Instead, rather than conduct a reasonable investigation into Plaintiff’s disputes,

17   TransUnion and Experian simply continued to report the inaccurate trade line.
18
        16. As such, TransUnion and Experian failed to reasonable investigate Plaintiff’s
19

20   credit disputes within 30 days of Plaintiff’s dispute. Specifically, TransUnion and
21
     Experian failed to provide any response to Plaintiff’s credit disputes despite being
22
     provided clear information that the subject account was being reported inaccurately.
23

24      17. As such, despite having actual knowledge that they were reporting inaccurate

25
     information on Plaintiff’s credit file, Defendants continued to report the subject debt
26
     in an inaccurate manner.
27

28
                                                 4
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 1      18. The reporting of the GAC trade line is patently inaccurate and materially
 2
     misleading because it paints Plaintiff’s creditworthiness in a false light.
 3

 4          IMPACT OF INACCURATE INFORMATION IN PLAINTIFF’S CREDIT FILE

 5      19. The erroneous reporting of the subject account paints a false and damaging
 6
     image of Plaintiff. Specifically, the inaccurate reporting of the subject account has
 7

 8   had a significant adverse impact on Plaintiff’s credit rating and creditworthiness
 9   because it misleads creditors into believing that Plaintiff cannot honor her financial
10
     obligations, and thus a high-risk consumer.
11

12      20. The entire experience has imposed upon Plaintiff significant distrust,

13   frustration, distress, and has rendered Plaintiff helpless as to her ability to obtain
14
     financing and/or credit opportunities, and to regain a firm foothold on her
15

16   creditworthiness, credit standing, and credit capacity.
17      21. As a result of the conduct, actions, and inactions of Defendants, Plaintiff has
18
     suffered various types of damages as set forth herein, including specifically, out of
19

20   pocket expenses, including the purchase of monthly credit monitoring services, the
21
     loss of credit opportunity, decreased credit score, tracking the status of her disputes,
22
     monitoring her credit files, and mental and emotional pain and suffering.
23

24      22. Due to the conduct of Defendants, Plaintiff was forced to retain counsel, yet

25
     again, to correct the inaccuracies in her TransUnion and Experian credit files.
26
               COUNT I - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
27
                                (AGAINST TRANSUNION)
28
                                                 5
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 1      23. Plaintiff restates and realleges paragraphs 1 through 22 as though fully set forth
 2
     herein.
 3

 4      24. TransUnion is a “consumer reporting agency” as defined by 15 U.S.C.

 5   §1681a(f).
 6
        25. TransUnion is a “consumer reporting agency that compiles and maintains files
 7

 8   on consumers on a nationwide basis” as defined by 15 U.S.C. §1681a(p).
 9      26. At all times relevant, the above-referenced credit reports were “consumer
10
     reports” as that term is defined by §1681a(d).
11

12      27. At all times relevant, Plaintiff is a “consumer” as the term is defined by 15

13   U.S.C. §1681a(c).
14
        28. The FCRA mandates that “[w]henever a consumer reporting agency prepares
15

16   a consumer report it shall follow reasonable procedures to assure maximum possible
17   accuracy of the information concerning the individual about whom the report
18
     relates.” 15 U.S.C. § 1681e(b).
19

20      29. The FCRA requires that the credit reporting industry to implement procedures

21
     and systems to promote accurate credit reporting.
22
        30. If a consumer notifies a credit reporting agency of a dispute concerning the
23

24   accuracy of any item of credit information, the FCRA requires the credit reporting
25
     agency to reinvestigate free of charge and record the current status of the disputed
26
     information, or delete the item within 30 days of receiving the dispute. 15 U.S.C.
27

28   §1681i(a)(1)(A).
                                                 6
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 1      31. Plaintiff provided TransUnion with all relevant information in her March
 2
     request for investigation to reflect that the subject account was being reported
 3

 4   inaccurately.

 5      32. TransUnion failed to respond and investigate the nature of Plaintiff’s dispute,
 6
     instead preparing Plaintiff’s credit reports containing inaccurate and materially
 7

 8   misleading information by reporting the subject account in an incorrect and erroneous
 9   manner.
10
        33. TransUnion violated 15 U.S.C. §1681e(b) by failing to establish or to follow
11

12   reasonable procedures to assure maximum possible accuracy in preparation of the
13   consumer reports it furnished and refurnished regarding Plaintiff. Upon information
14
     and belief, TransUnion prepared patently false and materially misleading consumer
15

16   reports concerning Plaintiff.
17      34. TransUnion violated 15 U.S.C. §1681i(a)(1) by failing to conduct a reasonable
18
     investigation to determine whether the disputed information was accurate and to
19

20   subsequently delete or correct the information in Plaintiff’s credit files.
21
        35. TransUnion violated 15 U.S.C. §1681i(a)(2) by failing to provide notification
22
     of Plaintiff’s dispute to GAC. Upon information and belief, TransUnion also failed
23

24   to include all relevant information as part of the notice to GAC regarding Plaintiff’s
25
     dispute that TransUnion received from Plaintiff.
26

27

28
                                                 7
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 1      36. TransUnion violated 15 U.S.C. §1681i(a)(4) by failing to review and consider
 2
     all relevant information that it received from Plaintiff with regard to the subject
 3

 4   account.

 5      37. TransUnion violated 15 U.S.C. §1681i(a)(5) by failing to delete or modify the
 6
     inaccurate information that was the subject of Plaintiff’s dispute.
 7

 8      38. TransUnion violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed

 9   information without certification from GAC that the information was complete and
10
     accurate, and without sending notice of the re-reporting to Plaintiff.
11

12      39. TransUnion knew that the inaccurate reporting of the subject account in

13   Plaintiff’s credit files under the GAC trade line as delinquent and with a balance due
14
     would have a significant adverse impact on Plaintiff’s credit worthiness and her
15

16   ability to receive financing and/or credit opportunities.
17      40. The FCRA requires that the credit reporting industry implement procedures
18
     and systems to promote accurate credit reporting.
19

20      41. Despite actual knowledge that Plaintiff’s credit files contained erroneous

21
     information, TransUnion readily sold Plaintiff’s inaccurate and misleading reports to
22
     one or more third parties, thereby misrepresenting material facts about Plaintiff and,
23

24   ultimately, Plaintiff’s creditworthiness.
25
        42. By deviating from the standards established by the credit reporting industry
26
     and the FCRA, TransUnion acted with a reckless disregard for its duties to report
27

28   accurate and complete consumer credit information.
                                                 8
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 1      43. It is TransUnion’s regular business practice to continually report disputed
 2
     information without taking the required investigatory steps to meaningfully verify
 3

 4   such information as accurate.

 5      44. TransUnion’s perpetual non-compliance with the requirements of the FCRA
 6
     is indicative of the reckless, willful, and wanton nature of its conduct in maintaining
 7

 8   Plaintiff’s credit files and reporting her credit information accurately.
 9      45. TransUnion acted reprehensively and carelessly by reporting and re-reporting
10
     Plaintiff as continually in collections after Plaintiff notified TransUnion of the
11

12   inaccurate nature of such information.
13      46. TransUnion has exhibited a pattern of refusing to correct errors in consumer
14
     credit files despite being on notice of patently false and materially misleading
15

16   information contained in such files, ultimately valuing its own bottom line above its
17   grave responsibility to report accurate data on consumers.
18
        47. As stated above, Plaintiff was severely harmed by TransUnion’s conduct.
19

20      WHEREFORE, Plaintiff, JULYNDA M. WALKER, respectfully requests that
21
     this Honorable Court enter judgment in her favor as follows:
22
        a. Declare that the practices complained of herein are unlawful and violate the
23
           aforementioned statute;
24
        b. An order directing that TransUnion immediately delete all of the inaccurate
25
           information from Plaintiff’s credit reports and credit files;
26
        c. Award Plaintiff actual damages, in an amount to be determined at trial, for the
27
           underlying FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C.
28         §1681o;
                                                 9
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  1

  2      d. Award Plaintiff statutory damages of $1,000.00 for the underlying FCRA
            violations, pursuant to 15 U.S.C. §1681n;
  3

  4      e. Award Plaintiff punitive damages, in an amount to be determined at trial, for
            the underlying FCRA violations, pursuant to 15 U.S.C. §1681n;
  5

  6      f. Award Plaintiff costs and reasonable attorney’s fees as provided under 15
            U.S.C. § 1681n and 15 U.S.C. §1681o; and
  7

  8      g. Award any other relief as this Honorable Court deems just and appropriate.
  9
                COUNT II - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
 10                                (AGAINST EXPERIAN)
 11
         48. Plaintiff restates and realleges paragraphs 1 through 47 as though fully set forth
 12
      herein.
 13

 14      49. Experian is a “consumer reporting agency” as defined by 15 U.S.C. §1681a(f).

 15
         50. Experian is a “consumer reporting agency that compiles and maintains files on
 16
      consumers on a nationwide basis” as defined by 15 U.S.C. §1681a(p).
 17

 18      51. At all times relevant, the above-referenced credit reports were “consumer
 19
      reports” as that term is defined by §1681a(d).
 20
         52. At all times relevant, Plaintiff is a “consumer” as the term is defined by 15
 21

 22   U.S.C. §1681a(c).
 23
         53. The FCRA mandates that “[w]henever a consumer reporting agency prepares
 24

 25
      a consumer report it shall follow reasonable procedures to assure maximum possible

 26   accuracy of the information concerning the individual about whom the report
 27
      relates.” 15 U.S.C. § 1681e(b).
 28
                                                  10
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  1      54. The FCRA requires that the credit reporting industry to implement procedures
  2
      and systems to promote accurate credit reporting.
  3

  4      55. If a consumer notifies a credit reporting agency of a dispute concerning the

  5   accuracy of any item of credit information, the FCRA requires the credit reporting
  6
      agency to reinvestigate free of charge and record the current status of the disputed
  7

  8   information, or delete the item within 30 days of receiving the dispute. 15 U.S.C.
  9   §1681i(a)(1)(A).
 10
         56. Plaintiff provided Experian with all relevant information in her March request
 11

 12   for investigation to reflect that the subject account was being reported inaccurately.
 13      57. Experian failed to respond and investigate the nature of Plaintiff’s dispute,
 14
      instead preparing Plaintiff’s credit reports containing inaccurate and materially
 15

 16   misleading information by reporting the subject account in an incorrect and erroneous
 17   manner.
 18
         58. Experian violated 15 U.S.C. §1681e(b) by failing to establish or to follow
 19

 20   reasonable procedures to assure maximum possible accuracy in preparation of the
 21
      consumer reports it furnished and refurnished regarding Plaintiff. Upon information
 22
      and belief, Experian prepared patently false and materially misleading consumer
 23

 24   reports concerning Plaintiff.
 25
         59. Experian violated 15 U.S.C. §1681i(a)(1) by failing to conduct a reasonable
 26
      investigation to determine whether the disputed information was accurate and to
 27

 28   subsequently delete or correct the information in Plaintiff’s credit files.
                                                  11
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  1      60. Experian violated 15 U.S.C. §1681i(a)(2) by failing to provide notification of
  2
      Plaintiff’s dispute to GAC. Upon information and belief, Experian also failed to
  3

  4   include all relevant information as part of the notice to GAC regarding Plaintiff’s

  5   dispute that Experian received from Plaintiff.
  6
         61. Experian violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all
  7

  8   relevant information that it received from Plaintiff with regard to the subject account.
  9      62. Experian violated 15 U.S.C. §1681i(a)(5) by failing to delete or modify the
 10
      inaccurate information that was the subject of Plaintiff’s dispute.
 11

 12      63. Experian   violated 15 U.S.C. §1681i(a)(5)(B) by reporting disputed
 13   information without certification from GAC that the information was complete and
 14
      accurate, and without sending notice of the re-reporting to Plaintiff.
 15

 16      64. Experian knew that the inaccurate reporting of the subject account in

 17   Plaintiff’s credit files under the GAC trade line as delinquent and with a balance due
 18
      would have a significant adverse impact on Plaintiff’s credit worthiness and her
 19

 20   ability to receive financing and/or credit opportunities.
 21
         65. The FCRA requires that the credit reporting industry implement procedures
 22
      and systems to promote accurate credit reporting.
 23

 24      66. Despite actual knowledge that Plaintiff’s credit files contained erroneous

 25
      information, Experian readily sold Plaintiff’s inaccurate and misleading reports to
 26
      one or more third parties, thereby misrepresenting material facts about Plaintiff and,
 27

 28   ultimately, Plaintiff’s creditworthiness.
                                                  12
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  1      67. By deviating from the standards established by the credit reporting industry
  2
      and the FCRA, Experian acted with a reckless disregard for its duties to report
  3

  4   accurate and complete consumer credit information.

  5      68. It is Experian’s regular business practice to continually report disputed
  6
      information without taking the required investigatory steps to meaningfully verify
  7

  8   such information as accurate.
  9      69. Experian’s perpetual non-compliance with the requirements of the FCRA is
 10
      indicative of the reckless, willful, and wanton nature of its conduct in maintaining
 11

 12   Plaintiff’s credit files and reporting her credit information accurately.
 13      70. Experian acted reprehensively and carelessly by reporting and re-reporting
 14
      Plaintiff as continually in collections after Plaintiff notified Experian of the
 15

 16   inaccurate nature of such information.
 17      71. Experian has exhibited a pattern of refusing to correct errors in consumer credit
 18
      files despite being on notice of patently false and materially misleading information
 19

 20   contained in such files, ultimately valuing its own bottom line above its grave
 21
      responsibility to report accurate data on consumers.
 22
         72. As stated above, Plaintiff was severely harmed by Experian’s conduct.
 23

 24      WHEREFORE, Plaintiff, JULYNDA M. WALKER, respectfully requests that
 25
      this Honorable Court enter judgment in her favor as follows:
 26
         h. Declare that the practices complained of herein are unlawful and violate the
 27
            aforementioned statute;
 28
                                                  13
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  1      i. An order directing that Experian immediately delete all of the inaccurate
  2         information from Plaintiff’s credit reports and credit files;

  3      j. Award Plaintiff actual damages, in an amount to be determined at trial, for the
  4         underlying FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C.
            §1681o;
  5

  6      k. Award Plaintiff statutory damages of $1,000.00 for the underlying FCRA
            violations, pursuant to 15 U.S.C. §1681n;
  7

  8      l. Award Plaintiff punitive damages, in an amount to be determined at trial, for
            the underlying FCRA violations, pursuant to 15 U.S.C. §1681n;
  9

 10      m. Award Plaintiff costs and reasonable attorney’s fees as provided under 15
            U.S.C. § 1681n and 15 U.S.C. §1681o; and
 11

 12      n. Award any other relief as this Honorable Court deems just and appropriate.
 13
         Dated: June 22, 2021               Respectfully submitted,
 14

 15                                         /s/Alejandro E. Figueroa
                                            Alejandro E. Figueroa, Esq.
 16
                                            California Bar No. 332132
 17                                         Counsel for Plaintiff
 18                                         Sulaiman Law Group, Ltd
                                            2500 S Highland Ave, Suite 200
 19
                                            Lombard, IL 60148
 20                                         Telephone: (630) 575-8181 Ext. 120
 21
                                            alejandrof@sulaimanlaw.com

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